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UNITED STATES DISTRICT COURT

 

 

MIDDLE DISTRICT oF FLoRIDA ;;;:, _3 F,, 1 w
TAMPA DlvlsloN ~ “ L' '
RICHARD HARTMAN,
Plaintiff,
v. CASE No.= Y.' l ‘i' C'V\Slz~ i 25 V\Af
uNITEI) RECovERY
SYSTEMS, LP, vERIFlEI) CoMPLAlNT FoR
UNLAWFUL CoLLECTloN
Defendant. pRACT[CES
JURY TRIAL DEMANI)ED
/
vERlFlED CoMPLAlNT

Plaintiff Richard Hartman, by and through undersigned counsel, sues United Recovery
Systems, LP, and states as follows:
PRELIMINARY STATEMENT
l. Plaintiff brings this action pursuant to the Florida Consumer Collection Practices

Act (“FCCPA”), and the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

JURISDICTION AND VENUE

2. Federal subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, as Plaintiff
brings, among other claims, claims under the federal 'I`CPA, 47 U.S.C. § 227 et seq.

Supplemental jurisdiction exists over the state law claims pursuant to 28 U.S.C. § 1367.

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3. Venue is proper in this district pursuant to 28 U.S.C. § l39l(a) because a
substantial part of the events or omissions giving rise to the claims and injuries occurred in the
Middle District of Florida.

PARTIES

4 Plaintiff Richard Hartman ("Hartman") is a natural person resident in the City of
Hudson, County of Pasco, State of Florida, and is a “consumer,” as that term °is defined by 15
U.S.C. § l692a(3), Fla. Stat. § 559.55(2), and a person under 47 U.S.C. § 227 et seq.

5. Defendant United Recovery Systems, LP (“Defendant” or “URS”), is a Texas
limited partnership, does business in the State of Florida, and is a “creditor" as that tenn is
defined by Fla. Stat. § 559.55(3), as well as a “person” under Fla. Stat. § 559.72 and 47 U.S.C. §
227 et seq. Defendant is also a "debt collector" as defined in Fla. Stat. § 559.55(6).

6. The conduct of Defendant was authorized, approved and/or ratified by one or
more officers, directors, or managers of Defendant, and/or they knew in advance that the
Defendants were likely to conduct themselves and allowed them to so act with conscious
disregard of the rights and safety of others. The agent(s) or employee(s) of Defendants acted
within the course and scope of such agency or employment and acted with the consent,

permission and authorization of Defendants.

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FACTUAL ALLEGATIONS

7. Hanman owed a debt to l-ISBC (the "Debt") before defaulting on that Debt.

8. On February I, 2012, Hartman sent HSBC a letter by U.S. Certified Mail, Retum
Receipt Requested (the "Cease & Desist Letter").

9. In the Cease & Desist Letter, Hartman told HSBC:

"[P]lease take notice that l DO NOT consent to be contacted on my cellular telephone,
the number of which is [redacted]-827, by anyone from your organization, or on behalf of your
organization. This includes any successors in interest to matters pertaining to the above credit
card account.

If you company somehow feels that it has previously received consent to call me at
[redacted]-8287, please be advised that ANY SUCH CONSENT IS HEREBY REVOKED."
(emphasis in original).

lO. HSBC received the Cease & Desist Letter on February 6, 2012.

ll. Thereafier, HSBC sold the Debt to Capital One, which either sold the Debt to
Defendant URS, or assigned it to URS for debt collection.

12. Between approximately July and September 2012, Defendant URS telephoned
l-Iartman numerous times, without his consent, using an auto-dialer.

13. During that time period, Hartman also verbally instructed URS to stop calling him
on his cell phone and that he refused to pay the Debt. URS ignored Hartman's instructions and

continued calling him on his cell phone using an automated telephone dialing system.

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VIOLATION OF THE FCCPA BY DEFENDANT URS

 

14. This is an action against Defendant for violation of Fla. Stat. § 559.55 et seq.

15. Plaintiff re-alleges and incorporate paragraphs 1 through 13, as if fully set forth
herein.

16. Defendant is engaged in the business of soliciting consumer debts for collection
and collecting consumer debts and is a “person” under Fla. Stat. §559.72, and is therefore subject
to Fla. Stat. §559.55 et seq.

l7. The Debt is a “consumer debt” as defined by Fla. Stat. § 559.55(]) because it is
for primarily personal, family, or household purposes.

18. Defendant communicated certain information to PlaintiH` as set forth above,
which constitutes “communication,” as defined by Fla. Stat. § 559.55(5).

19. 'l`hrough the conduct described in paragraphs 7 - 13 above, Defendant violated the
following provisions of the FCCPA:

20. Fla. Stat. § 559.72 provides, in pertinent part:

In collecting consumer debts, no person shall:

(7) Willfully communicate with the debtor or any member of her or his family
with such frequency as can reasonably be expected to harass the debtor or her or
his family, or willfully engage in other conduct which can reasonably be expected
to abuse or harass the debtor or any member of her or his family,

(9) . . . assert the existence of some other legal right when such person knows that
the right does not exist

21. Defendant violated the above sections of the FCCPA when Defendant: (1)

willfully abused Plaintiff by repeatedly violating Plaintiff`s instructions to cease calling him; (2)

willfully abused Plaintiff by repeatedly calling him alier he explained that he refused to pay the

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Debt, when there was no legitimate reason to continue calling Plaintiff except for purposes of
harassment; and (3) asserted the right to violate the TCPA by making numerous collection calls
to P|aintiff‘s cell phone without Plaintiff‘s express consent, using an automated dialing system.

22. Al| conditions precedent to this action have occurred, have been satisfied or have
been waived.

23. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the
FCCPA, URS is liable to Plaintif`f for his actual damages, statutory damages, and reasonable
attorney’s fees and costs.

24. Based upon the willful, intentional, knowing, malicious, repetitive and
continuous conduct of the Defendant as described herein, Plaintiff is also entitled to an award of
punitive damages in accordance with Fla. Stat. §§ 559.77 and 768.72.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against
URS, finding that URS violated the FCCPA, awarding Plaintiff actual damages, statutory
damages, punitive damages, attomeys’ fees and costs pursuant to Fla. Stat. § 559.77(2), and

awarding Plaintiii` any and all such further relief as is deemed necessary and appropriate.

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VIOLATION OF THE TCPA BY DEFENDANT URS

 

25. This is an action against Defendant for violations of the TCPA, 47 U.S.C. § 227
er seq.

26. Plaintiff re-alleges and reincorporates paragraphs l through 13, as if fully set forth
here-in.

27. Defendant, in the conduct of its business, used an automatic telephone dialing
system defined by 47 U.S.C. § 227(a)(l )(A) to communicate with Plaintiff.

28. Section 47 U.S.C. § 227(b)(l)(A)(iii) provides in pertinent part:

It shall be unlawful for any person within the United States --

(A) to make any call (other than a call made for emergency purposes or made
with the prior express consent of the called party) using any automatic
telephone system or an artificial or prerecorded voice --

(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call;

29. Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) when Defendant placed
numerous calls to Plaintiff‘s cell phone without Plaintiff‘s express consent using an automatic
telephone dialing system.

30. Defendant willfully, knowingly, and intentionally made multiple calls to
PlaintiH‘s cell phone phone utilizing an automatic telephone dialing system after Plaintiff told
Defendant that Defendant did not have permission to call Plaintiff‘s cell phone.

31. All conditions precedent to this action have occurred, have been satisfied or have

been waived.

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32. As a result of the above violation of` the TCPA, Defendant is liable to Plaintiff for
actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,
pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

33. Based upon the willful, knowingly, and intentional conduct of the Defendant as
described above, Plaintiff is also entitled to an increase in the amount of the award to treble the
damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §
227(b)(3).

WHEREFORE, Plaintiff respectfully request this Court enter a judgment against the
Defendant: (l) finding Defendant violated the TCPA; (2) awarding Plaintiff actual damages or
the amount of $500.00 in damages for each violation, whichever is greater; (3) finding Defendant
willfully, knowingly and intentionally violated the TCPA and increasing the damages award to
treble the amount of damages otherwise to be entered as a judgment; and (4) awarding Plaintiff

any and all such further relief as is deemed necessary and appropriate

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MAMUMAL;_

Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const.

amend. 7 and Fed. R. Civ. P. 38.

Dated: June 3, 2014

Respectfully Submitted,

CENTRONE & SHRADER, LLC
1710 N. 19th Street, Suite 205
Tampa, Florida 33605

Phone: (813 360-1529

(8 336-0832

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/'\_4 VERIFICATION OF COMPLAIN'I` AND CERTIFICATION BY PLAINTIFF,
RICHARD HAR N

I, Richard l-Iarmian, pursuant to 28 U.S.C. §1746, under penalties of perjury, state as f
follows: l

l. I am a Plaintiff in this civil proceeding

2. I have read the above entitled civil Complaint prepared by my attorneys and l
believe that all of the facts contained in it are true, to the best of my knowledge,
infon'nation and belief formed aher reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and warranted by
existing law or by a good faith argument for the extension, modification, or
reversal of existing law.

4. 1 believe that this civil Complaint is not interposed for any improper purpose,
such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),
or create a needless increase in the cost of litigation to any Defendant(s), named

 

 

` in the Complaint.
5. I have filed this civil Complaint in good faith and solely for the purposes set forth
in it.
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Richard Hartman Date
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